                   Case: 25-1592
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                                            APPEALS  1   Date
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                                                              THIRD 04/11/2025
                                                                      CIRCUIT

                                                     No. 25-1592

                        Atlas Data Privacy Corporation, et al.   vs. Spy Dialer, Inc.

                                                 ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:

 Spy Dialer, Inc.

Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                 ✔ Appellant(s)
                                           ____                                 ____ Intervenor(s)

         ____ Respondent(s)                ____ Appellee(s)                     ____ Amicus Curiae

(Type or Print) Counsel’s Name Christopher  Nucifora, Esq.
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SIGNATURE OF COUNSEL: /s/ Christopher Nucifora

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Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
